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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

IN RE: NATIONAL PRESCRIPTION                   )      CASE NO. 1:17-MD-2804
OPIATE LITIGATION                              )
                                               )      SPECIAL MASTER COHEN
THIS DOCUMENT RELATES TO:                      )
“Track One Cases”                              )
                                               )      DISCOVERY RULING NO. 19
                                               )      REGARDING DR. PORTENOY
                                               )


       One of the defendants originally named in many of the cases that are consolidated in this

MDL, including the Track One cases set for trial this coming October, is Dr. Russell Portenoy.

Portenoy is characterized in these complaints as a “Key Opinion Leader” who, essentially, acted as

a paid shill for the manufacturer defendants by promoting the use of prescription opioids while

downplaying their risks.

       On January 7 and 8, 2019, Portenoy received two, coordinated deposition subpoenae – one

from MDL plaintiffs and one from plaintiffs in a related Oklahoma state court opioid case. On

January 18, 2019, MDL defense counsel contacted Portenoy’s attorney to discuss deposition

logistics. Defense counsel learned for the first time that Portenoy had entered into a “Settlement and

Consulting Agreement” with the Track One plaintiffs ten months earlier, on March 5, 2018. This

information obviously reflected a meaningful change in the nature of Plaintiffs’ relationship with

Portenoy. Defendants immediately contacted the undersigned, seeking to: (1) postpone the MDL

deposition of Portenoy, and (2) compel production of any other documents related to Portenoy’s

Settlement and Consulting Agreement and certain other aspects of his relationship with plaintiffs.
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The Special Master granted both requests, although Portenoy’s Oklahoma state-court deposition

went forward as scheduled on January 24, 2019.

       The documents subsequently produced by plaintiffs revealed that, not only had they failed

to inform defendants of their Settlement and Consulting Agreement with Portenoy for 10 months,

but they had discussed the withholding of this document with counsel for the Oklahoma state-court

plaintiffs. And plaintiffs’ failure to produce Portenoy’s Settlement and Consulting Agreement

occurred despite discovery requests directly on point. For example, manufacturer defendants’

request for production no. 19, issued four months after plaintiffs and Portenoy entered into the

Settlement and Consulting Agreement (July 3, 2018), asked for “Any and all agreements, including

tolling agreements, settlement agreements, or releases, with any . . . HCP [Health Care Practitioner]

regarding opioid issues in Your territory or the allegations in Your Second Amended Complaint.”

Plaintiffs responded that “no such documents exist,” and reiterated this statement numerous times

in subsequent weekly discovery production updates. This response was untrue, and plaintiffs only

produced the Portenoy Agreement after defendants made their emergency request to cancel the MDL

deposition.1

       On March 22, 2019, defendants submitted to the undersigned a letter-motion asserting that

plaintiffs had engaged in misconduct and asking for an order “precluding Plaintiffs from obtaining


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          Plaintiffs, however, did produce to defendants during discovery: (1) documents that
Portenoy had given to plaintiffs (given by Portenoy on August 3, 2018, produced to defendants
September 21, 2018), and (2) a declaration Portenoy gave to plaintiffs (given by Portenoy on
December 14, 2018, produced to defendants January 9, 2019). Plaintiffs assert that production of
Portenoy’s documents and declaration, along with the fact that plaintiffs had dismissed all of their
claims against Portenoy in March of 2018, gave defendants at least some notice that Portenoy was
cooperating with plaintiffs. Defendants disagree, assert any such notice was not timely in any event,
and also contend that, when plaintiffs produced Portenoy’s documents and declaration, they did so
in a manner intended to keep defendants from identifying them.

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deposition testimony or relying on any prior written or oral testimony from Dr. Portenoy in Track

One and all other MDL proceedings . . . .” Letter from Mark Cheffo to Special Master at 2 (Mar.

22, 2019) (attached to this Ruling as exhibit 1); see also exhibits to Cheffo’s letter (attached to this

Ruling as exhibit 2). Defendants’ letter recited in detail other aspects of plaintiffs’ changing

relationship with Portenoy, and their failures to disclose this relationship in their discovery

responses, which the Special Master does not recapitulate here. Plaintiffs filed a letter in response,

insisting they “did not intentionally withhold information about Dr. Portenoy, nor withhold key

facts,” and that “any belated disclosure was inadvertent and harmless.” Letter from Hunter Shkolnik

to Special Master at 1 (Apr. 2, 2019) (attached as exhibit 3).

       The Special Master issued an informal ruling concluding that defendants’ motion for

sanctions was well-taken because “[p]laintiffs’ failures over many months to disclose (despite

requests directly on point) the dramatically-changed nature of their relationship with Dr. Portenoy,

including that he made a proffer and entered into a cooperation agreement with Plaintiffs over a year

ago, is unacceptable and was not harmless.” Email from Special Master to counsel (Apr. 4, 2019,

2:31pm). Accordingly, the Special Master ruled as follows:

               Plaintiffs may not: (1) obtain deposition testimony from Dr. Portenoy in the
       Track One cases; nor (2) rely in Track One cases (at trial or in support of any
       motion) upon any prior written or oral testimony from Dr. Portenoy, including the
       Oklahoma deposition.
               I further rule that Plaintiffs are not precluded from: (1) obtaining or using
       testimony from Dr. Portenoy in any other MDL case that may be set for trial, or (2)
       relying in Track One cases, or any other MDL cases, on documents produced by Dr.
       Portenoy that were originally created before the date the MDL was assigned to the
       Court (December 12, 2017).




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Id. Plaintiffs then timely requested this ruling be formalized.2 The Special Master fills this request

with this Ruling.

         The Special Master offers the following explanation.            The rule applicable to the

circumstances presented is: “If a party fails to provide information or identify a witness as required

by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply evidence

on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is harmless.”

Fed. R. Civ. P. 37(c)(1). Plaintiffs insist their failure to timely produce Portenoy’s Settlement and

Consulting Agreement was substantially justified because it was “inadvertent, not intentional.”

Shkolnik letter at 7. Plaintiffs explain, essentially, that the left hand did not know what the right

hand was doing: “ In this massive and fast-paced litigation, Plaintiffs, like Defendants, have multiple

teams working on different aspects of this litigation. Lawyers working on affirmative discovery

were distinct from lawyers working on defensive discovery responses. Plaintiffs’ settlement

agreement with Dr. Portenoy was negotiated by MDL counsel, and the agreement was not contained

in the files of any of the Plaintiff municipalities from which document productions were gathered.”

Id.

         The Special Master rejects this explanation because other facts show non-production was not

a simple mistake. See Cheffo letter at 11 (citing to exhibits that show “Summit County and Akron’s

responses are signed by the same counsel [Linda Singer] who principally drafted Dr. Portenoy’s

proffer agreement and corresponded with counsel for Dr. Portenoy regarding his proffer session.”);


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          See Appointment Order (docket no. 69) at 5 (“If a Special Master issues an informal ruling
or order that is not on the record (such as the resolution of a discovery dispute) either orally, via
email, or through other writing, and a party wishes to object to that ruling or order, the party shall
ask the Special Master to formalize the ruling or order by filing it on the docket or appearing before
a court reporter.”).

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id. exhibit 9 (at bates no. ending in -4430) (email thread between MDL counsel and Oklahoma

counsel discussing whether Portenoy’s declaration would be provided to defendants).

       Plaintiffs also assert the late production of Portenoy’s Settlement and Consulting Agreement

was harmless. But the fact that Portenoy – who was described in plaintiffs’ complaints as “a

spokesperson for Purdue” and “a critical component of the Marketing Defendants’ control over their

Front Groups” – is now cooperating with plaintiffs represents a clear change in circumstances, which

defendants had ample reason to explore in discovery. Production of the Agreement only after fact

discovery was virtually over was not harmless, as it prevented defendants from “seeking even the

most basic discovery from Dr. Portenoy and gave Plaintiffs unfettered access to him throughout the

entirety of the fact discovery period.” Cheffo letter at. 3. See Howe v. City of Akron, 801 F.3d 718,

748 (6th Cir. 2015) (setting out five factors to determine whether a sanction is appropriate under Rule

37, a balancing of which in this case preponderates against plaintiffs).

       This leaves the question of what the appropriate sanction should be. Defendants ask that

Portenoy be precluded from offering testimony in any MDL trial. In contrast, plaintiffs state that,

if any sanction is allowed at all, “the appropriate remedy is making the deponent available for

deposition prior to trial at the other party’s expense.” Shkolnik letter at 10 n.14 (quoting Zoltek

Corp. v. U.S., 71 Fed. Cl. 160, 171 (Cl. Ct. 2006)). But there is a middle ground that is more solid.

       The Special Master first concludes that excluding Portenoy’s testimony from every MDL

trial is too severe and unnecessary. In the next MDL trial, defendants can depose Portenoy and also

ask other witnesses about him, so there will no longer be any harm stemming from the late

disclosure that occurred in this case.

       The Special Master also concludes (hesitantly) that simply allowing defendants to depose


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Portenoy at this late date, at plaintiffs’ expense, is not sanction enough.3 Portenoy’s importance as

a witness, and plaintiffs’ repeated failure to disclose his cooperation during months of fact

discovery, suggests stronger medicine than a monetary fine is needed. Exclusion of Portenoy’s

testimony from the Track One case, but not other MDL cases, is a fair result.

       Accordingly, the Special Master concludes the appropriate sanction is the one expressed in

the email ruling quoted above on page 3.

       Given the substantial letter briefing (which is attached to this Ruling) already submitted on

the topics addressed herein, if any party chooses to object to any aspect of this Ruling, it must do

so on or before 5:00 p.m EST on April 15, 2019.

       RESPECTFULLY SUBMITTED,

                                                       /s/ David R. Cohen
                                                       David R. Cohen
                                                       Special Master

Dated: April 5, 2019




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          The Special Master is hesitant because “[e]xclusion of evidence is an extreme sanction and
should be applied only when lesser sanctions are inadequate.” Zoltek, 71 Fed. Cl. at 171; see also
Trustee of Michigan Reg’l Council of Carpenters Employee Benefits Fund v. Carpentry Contractors,
Inc., 203 F.R.D. 247, 253 (E.D. Mich. 2001) (“The extreme sanction of exclusion, however, should
only be used where lesser sanctions would be ineffective.”) (quoting Bellinger v. Deere & Co., 881
F.Supp. 813, 817 (N.D.N.Y. 1995). Moreover, the Special Master is not entirely comfortable
choosing an option that: (i) keeps evidence from the finder of fact, and (ii) imposes counsel’s
failures on the Track One plaintiffs (especially to the extent it is Summit County’s counsel’s failures
being imposed on Cuyahoga County). See Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. P’ship,
507 U.S. 380, 407 (1993) (noting it can “be unfair and inequitable to visit the sins of the lawyer on
the client”). Indeed, it is within the realm of reasonableness to instead allow defendants to depose
Portenoy and require plaintiffs to pay for all costs associated with that deposition. In the final
analysis, however, the Special Master believes the chosen sanction is equitable.

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